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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA

                                               *
 AHMED BAQER, et al.,                          *     CIVIL ACTION NO.: 20-
                                               *     00980-DJP-DPC
                   Plaintiffs,
                                               *
                             v.                *     (Consolidated with 20-1840-
                                               *     WBV-DPC)
 ST. TAMMANY PARISH GOVERNMENT,                *
 a/k/a/ ST. TAMMANY PARISH COUNCIL,            *     JUDGE PAPILLION
 et al.,                                       *
                                                     MAGISTRATE JUDGE
                                               *
                  Defendants.                        PHILLIPS CURRAULT
                                               *
                                               *     JURY TRIAL DEMANDED
                                               *

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                  MEMORANDUM IN SUPPORT OF
              PLAINTIFFS’ CORRECTED MOTION FOR
   LEAVE TO FILE A RENEWED MOTION FOR CLASS CERTIFICATION

       Plaintiffs, by their undersigned counsel, respectfully submit this

memorandum in support of their corrected motion for leave to file a renewed motion

for class certification.

       Plaintiffs brought this case to challenge their prolonged confinement—in

violation of the Parish’s own written regulations limiting holding cell detention to

48 hours—under filthy, crowded, and unsanitary conditions in the holding cells of

the St. Tammany Parish jail. Plaintiffs had sufficient information to allege that the

conditions of their confinement were unconstitutional, and they had sufficient

information to allege that the conditions of their confinement were widespread.

And on the strength of this information, on May 7, 2021, Plaintiffs moved to certify

a class under Rule 23(b)(3). See ECF 158. The Court ultimately denied that
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motion, ECF 171, holding that Plaintiffs had not made a sufficient showing of

numerosity, since they could not say exactly how many persons had been detained

in holding cells for periods lasting more than 48 hours under Rule 23(a)(1), and

because the question of conditions and length of holding, which combine with

questions about legitimate governmental interest under the Fifth Circuit’s objective

test for pretrial conditions claims, meant that individual issues predominate over

common ones under Rule 23(b)(3).

      The case nevertheless proceeded to discovery on the Plaintiffs’ individual

claims. That discovery, in turn, has revealed a single, common reason that St.

Tammany Parish has been holding its pretrial detainees in holding cells for

extended periods: the Parish made a decision to rent out much of the space in the

jail, for profit, to outside entities to house their detainees or prisoners instead of the

Parish’s detainees. And in order to make this space available, the Defendants

made the decision to cram their own detainees into the holding cells, and keep them

there for extended periods that violated their own written regulations, until one of

the few remaining un-rented cells opened up. The Court focused on these facts in

its summary judgment decision when it denied the Parish’s motion for summary

judgment, explaining that the municipal defendants “cannot disclaim constitutional

duties by freely entering into competing obligations” through their cell-rental

contracts. ECF 457 at 17.

      These facts change the face of this litigation. They indicate that there was a

single, common cause for the prolonged holding-cell detention of both Plaintiffs and


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hundreds, if not thousands, of other pretrial detainees. Such common sources of an

alleged tort are the touchstone of cases in which common issues predominate,

making them ideal for class treatment under Rule 23(b)(3). There is also every

reason now to believe that they resolve the Rule 23(a)(1) numerosity deficiency

identified by the Court with respect to Plaintiffs’ initial motion, since they indicate

that a common policy choice was applied to all detainees, and that said policy choice

was likely to result in the extended, inappropriate over-detention in holding cells

that is the root of the Plaintiffs’ claims. These facts also call for an adjustment in

Plaintiffs’ theories of liability as set out in their complaint, as they suggest an

entirely different cause for their unlawful conditions of confinement than the run-of-

the-mill conditions case Plaintiffs had pleaded—based on what they knew at the

time—before the outset of discovery.

      All of this, Plaintiffs submit, calls for a reassessment of Plaintiffs’ theories

and the treatment of their cases under Rule 23. As things stand, given the Court’s

March 28, 2025 summary judgment decision, every member of the putative class

Plaintiffs sought to certify now has a viable claim to assert for their over-detention

in the St. Tammany Parish jail’s holding cells—going back years. Were each of

these people to bring their own individual suits, the Court could expect them to

present broadly common evidence regarding their extended detention in the holding

cells and the conditions therein, and each person would present precisely the same

evidence about the cause of those unlawful conditions—the Defendants’ choice to




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rent out large portions of their jail such that there was not enough space to hold

their own detainees in constitutionally adequate conditions.

      These common, core facts will be the central evidence for the claims of every

single person who the named Plaintiffs seek to represent under Rule 23. It would be

impracticable, inefficient, and wasteful to hold trials at which each would-be

plaintiff presented the same, common evidence about their over-detention in

holding cells and the same, single reason for that over-detention. The Rule 23 class

action procedural device exists precisely to avoid such a result.

      Plaintiffs do not seek to argue their renewed class certification request in this

motion. Rather, in this motion they request the opportunity to bring a motion to

amend the Court’s existing class certification decision, in light of the evidence set

forth above and with the benefit of an amended complaint make plain their theories

of liability. Rule 23(c)(1) specifically allows for such relief, providing that “An order

that grants or denies class certification may be altered or amended before final

judgment.” Fed. R. Civ. P. 23(c)(1)(C) (emphasis added). Under this rule courts

alter summary judgment decisions after summary judgment and even after trial on

the merits, see Wright & Miller, 7AA Fed. Prac. & Proc. Civ. § 1785.4 nn. 9-13 (June

2024) (collecting cases), and indeed Courts frequently issue summary judgment

decisions before adjudicating class certification as a general matter. See Wright &

Miller, 7AA Fed. Prac. & Proc. Civ. § 1785 n.35 (June 2024) (collecting cases). In

the same way, Rule 15(a)(2) permits amendment of pleadings at all stages of the




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case, even through trial, subject to the court’s discretion and conventional

considerations such as prejudice and the like.

      All this is to say that this is the right time to give Plaintiffs the chance to

show the Court that, in light the revelations obtained in discovery about the

common cause of their over-detention in St. Tammany jail’s holding cells, class

certification is now appropriate under theories adjusted for the evidence,

summarized above, that was revealed in discovery. Allowing Plaintiffs the

opportunity to renew their motion for class certification under an amended

complaint carries considerable potential for the Court to adjudicate this large-scale

dispute in an efficient manner.



 Date: April 14, 2025                          Respectfully submitted,

                                               /s/ Joshua M. Levin


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